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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SARAH MORGULIS, on behalf of herself and
 all others similarly situated,
                                                            Case No. 1:24-cv-113
                                           Plaintiff,
                                                            NOTICE OF REMOVAL
            -against-

 Bus Patrol America, LLC,

                                           Defendant.

           Defendant BusPatrol America, LLC s/h/a Bus Patrol America, LLC (“Defendant” or

“BusPatrol”), by and through its attorneys, Nixon Peabody LLP, hereby removes the action

identified as Sarah Margulis, on behalf of herself and all others similarly situated v. Bus Patrol

America, LLC, No. 655887/2023 from the Supreme Court of the State of New York, County of

New York, to the United States District Court for the Southern District of New York.

           This civil action is removed under 28 U.S.C. §§ 1332, 1441, 1446, 1453. For the reasons

set forth below, this Court has subject matter under the Class Action Fairness Act of 2005

(“CAFA”), codified in part at 28 U.S.C. §§ 1332 and 1453. Additionally, as required by U.S.C. §

1446(a), all process, pleadings and orders served on the Defendant in this action to date are

attached hereto.

           As the requisite “short and plain statement of the grounds for removal,” 28 U.S.C. §

1446(a), the Defendant states as follows:

     I.            PROCEDURAL BACKGROUND

           1.        On November 27, 2023, Plaintiff Sarah Margulis commenced a civil action by

filing a Summons and Complaint in the Supreme Court of the State of New York, County of New




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York. A true and accurate copy of the Summons and the Complaint and the exhibits thereto are

attached collectively as Exhibit A.

           2.      Plaintiff served the Complaint on Defendant by delivering the Summons,

Complaint, and Notice of Electronic Filing to the New York Secretary of State on December 7,

2023, and therefore this Notice is timely. See 28 U.S.C. § 1446(b)(1). A copy of the Affidavit of

Service is attached as Exhibit B.

           3.      By stipulation dated December 29, 2023, Defendant’s time to respond to the

Complaint was extended through and including January 26, 2024. A true and accurate copy of

the Stipulation is attached as Exhibit C.

           4.      Plaintiff styles the Complaint as a putative class action, purporting to sue on her

own behalf and “all others similarly situated.” In particular, Plaintiff seeks to certify a class of

“owners of vehicles who were issued [Notices of Liability] pursuant to VTL 1174-a in New York

State since August 6, 2019 (‘the Class’).” Ex. A, Complaint at ¶ 109. The allegations in the

Complaint, taken as a whole, appear to further define the class as all individuals who were issued

Notices of Liability pursuant to Section 1174-a of the New York State Vehicle and Traffic Law

(“VTL”) for violating Section 1174 of the VTL and paid fines without contesting liability. See

generally Ex. A, Complaint.

           5.      The Complaint asserts causes of action for: (a) unjust enrichment; (b) fraudulent

concealment / fraudulent inducement; (c) negligent misrepresentation; (d) violation of New York

General Business Law § 349; and (e) declaratory judgment.




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     II.           VENUE

            6.       Because the Supreme Court of the State of New York, County of New York lies in

the Southern District of New York, this Court is the appropriate venue for removal. See 28

U.S.C. §§ 112(b) and 1441(a).

     III.          CAFA JURISDICTION PURSUANT TO 28 U.S.C. § 1332(D).

            7.       This action is removable under the Class Action Fairness Act of 2005, Pub. L. No.

109-2 (2005). CAFA contains an independent removal provision in 28 U.SC. § 1453, which

provides for the removal of a “class action,” as that term is defined under 28 U.S.C. §

1332(d)(1). See 28 U.S.C. § 1453.

            8.       Under 28 U.S.C. § 1332(d)(1)(B), a “class action” means “any civil action filed

under rule 23 of the Federal Rules of Civil Procedure or similar State statute or rule of judicial

procedure authorizing an action to be brought by 1 or more representative persons as a class

action.” 28 U.S.C. § 1332(d)(1)(B).

            9.       Plaintiff purports to bring this case as such a “class action,” in that she asserts to

bring this lawsuit on behalf of herself and all others similarly situated pursuant to New York

Civil Practice Law and Rules § 901. See Ex. A, Complaint ¶¶ 109 - 121.

            10.      Plaintiff defines the Class as “the owners of vehicles who were issued NOL

pursuant to VTL 1174-a in New York State since August 6, 2019 (the “Class”).” Id. ¶ 109.

            11.      Plaintiff excludes from this definition of the Class, “Defendants, their governing

agencies, subsidiaries, affiliates, employees, officers and directors; any co-conspirators; federal

governmental entities and instrumentalities of the federal government; states and their

subdivisions, agencies and instrumentalities; any judicial officer presiding over this matter and

the members of their immediate families and judicial staff; and Class counsel.” Id. ¶ 110.



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           12.     Therefore, this action is properly considered a “class action” within the meaning

of 28 U.S.C. § 1332(d)(1)(B).

           13.     Pursuant to 28 U.S.C. § 1332(d)(2), a district court shall have “original

jurisdiction” over any putative class action if: (a) the proposed class contains at least 100

members; (2) the defendants are not states, state officials, or other governmental entities; (3) any

member of the putative class is a citizen of a State different from any defendant; and (4) the

amount in controversy for all of the putative class members exceeds $5,000,000, exclusive of

interests and costs. 28 U.S.C. § 1332(d)(2).

           A. The Proposed Class Contains At Least 100 Members

           14.     According to Plaintiff, “[u]pon information and belief Plaintiff is one of

thousands of individuals who paid fines for legally insufficiently alleged Stop-Arm Violations

based on mistake or fraud due to Defendant’s material misrepresentations or [o]missions on the

NOL.” Ex. A, Complaint ¶ 3; id. ¶ 113 (“counsel believes that the Class encompasses thousands

of individuals”). Thus, without conceding liability and while expressly disputing liability, the

appropriateness of class treatment, the appropriateness of Plaintiff’s class definition, or the

validity of Plaintiff’s claims for relief, there are far more than 100 proposed class members for

the purposes of removal under CAFA. Blockbuster, Inc. v. Galeno, 472 F.3d 53, 57 (2d Cir. 2006)

(finding the requirement of at least 100 members in the putative class satisfied when “the

complaint plainly states that there are thousands of members.”); Abdale v. N. Shore-Long Island

Jewish Health Sys., Inc., No. 13-1238 JS, 2014 U.S. Dist. LEXIS 88881, at *18 (E.D.N.Y. June

30, 2014) (“the Complaint itself alleges that the proposed class amounts to ‘thousands, if not

more’” and thus “the class size requirement is met.”).




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           15.     Additionally, a preliminary investigation has revealed that the putative class as

defined by Plaintiff does contain at least 100 members. See Declaration of Brad Conrad (“Conrad

Decl.”) at ¶ 3.

           B. There is “Minimal Diversity” Between the Parties as Required by CAFA

           16.     The requisite “minimal diversity” is satisfied under 28 U.S.C. § 1332(d)(2) if:

“(A) any member of a class of plaintiffs is a citizen of a State different from any defendant; (B)

any member of a class of plaintiffs is a foreign state or a citizen or subject of a foreign state and

any defendant is a citizen of a State; or (C) any member of a class of plaintiffs is a citizen of a

State and any defendant is a foreign state or citizen or subject of a foreign state.”

           17.     Plaintiff is a citizen of the State of New York. See Ex. A, Complaint ¶ 18.

           18.     Defendant is a limited liability company organized under the laws of the State of

Delaware, and it maintains its principal place of business in Virginia. See Conrad Decl. ¶ 2.

Accordingly, for the purpose of diversity jurisdiction under CAFA, Defendant is a citizen of

Delaware and Virginia. See 28 U.S.C. § 1332(d)(10); see also Claridge v. N. Am. Power & Gas,

LLC, 2015 U.S. Dist. LEXIS 117693, at *3 (S.D.N.Y. 2015) (“Although the Second Circuit has

not yet given guidance as to an LLC’s citizenship for purposes of CAFA jurisdiction, two United

States Courts of Appeals have held that an LLC’s citizenship under CAFA is determined by the

state of organization and principal place of business under section 1332(d)(10).”) (citations

omitted).

           C. Amount in Controversy Exceeds $5 Million

           19.     Without conceding liability, the appropriateness of class treatment, the

appropriateness of Plaintiff’s class definition, or the validity of Plaintiff’s claims for relief, as




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pleaded by Plaintiff, and while expressly disputing liability, it is clear that the amount in

controversy exceeds $5 million.

           20.     “In determining the amount in controversy, courts first turn to the allegations of

the plaintiff’s complaint.” Sorrentino v. ASN Roosevelt Ctr., LLC, 588 F. Supp. 2d 350, 354

(E.D.N.Y. 2008). “CAFA explicitly provides for aggregation of each class member’s claims in

determining whether the amount of controversy is at least $5,000,000.” Blockbuster, Inc. v.

Galeno, 472 F.3d 53, 59 (2d Cir. 2006) (citing 28 U.S.C. § 1332(d)(2)(A)).

           21.     The Plaintiff is seeking as damages a return of all monies paid by proposed class

members in connection with Notices of Liability issued by BusPatrol. See, e.g., Ex. A, Complaint

¶ 11 (“Defendant failed to offer Plaintiff and Class members full refunds, plus interest, of the

fines and associated fees paid for their legally insufficient Stop-Arm violations.”); id. ¶ 130

(“Plaintiff and Class members are entitled to restitution as it is unjust an inequitable for

Defendants to retain such money based on the unlawful conduct described above.”); id. ¶ 137

(“Plaintiff and Class members have sustained economic injury by paying fines and associated

fees for legally insufficient alleged Stop-Arm Violations.”); id. ¶¶ 146, 151. Plaintiff also seeks,

for herself and the Class members, pre-judgment and post-judgment interest, costs, and attorney

fees. Id. ¶ 138.

           22.     Since August 6, 2019, BusPatrol has issued approximately 300,000 Notices of

Liability in New York to violators who did not contest liability from whom it has collected on

behalf of New York municipalities in far excess of $5,000,000 in civil fines. Conrad Decl. ¶ 3.

Accordingly, the amount in controversy exceeds $5 million.




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     IV.           NOTICE OF FILING OF REMOVAL

           23.       Contemporaneously with the filing of this Notice of Removal, the Defendant is

filing a true and accurate copy of this Notice of Removal and all documents filed in support

thereof with the clerk of the Supreme Court of the State of New York, County of New York,

pursuant to 28 U.S.C. § 1446(d). The Defendant will also serve Plaintiff with a copy of this

Notice of Removal.

           WHEREFORE, having fulfilled all statutory requirements, Defendant removes this

action from the Supreme Court of the State of New York, County of New York, to this Court, and

requests that this Court assume full jurisdiction over this matter as provided by law.



Dated: New York, New York
       January 5, 2024
                                                  NIXON PEABODY LLP


                                                  By: __/s/ Neil P. Diskin________
                                                         Timothy D. Sini
                                                         Neil P. Diskin
                                                         Thomas M. Caruso
                                                  55 West 46th Street
                                                  New York, New York 10036
                                                  (516) 832-7500
                                                  tsini@nixonpeabody.com
                                                  ndiskin@nixonpeabody.com
                                                  tcaruso@nixonpeabody.com

                                                  Attorneys for Defendant




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